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 UNITED STATES DISTRICT COURT
 SOUTHERN DISTRICT OF NEW YORK

                                            )
  STUART FRIEDMAN and                       )
  SHERR! FRIEDMAN,                          )                       Case No. 17-cv-08142-AJN
                                            )
                                Plaintiffs, )
                                            )                       AFFIDA VIT IN SUPPORT
                -against-                   )                       OF MOTION FOR
                                            )                       ORDER PURSUANT TO
  MISSION OF THE GABONESE REPUBLlC )                                28 U.S.C. § 1610(c)
  and AMBASSADOR BAUDELAIRE NDONG )
  ELLA,                                     )
                                            )
                          Defendants.       )
------------------------------                                )
STATE OF NEW YORK                             )
                                              )       ss.:
COUNTY OF NEW YORK                            )

          KEVIN FRITZ, being duly sworn, deposes and says:

           1.          I am a partner of Meister Seelig & Fein LLP, attorneys for plaintiffs Stuart

Friedman and Sherri Friedman (collectively, "Plaintiffs" or "Landlord") in this action.

          2.           This affidavit is submitted in support of Plaintiffs' motion, pursuant to 28 U.S.c. §

161 O( c), for an Order determining that a reasonable period of time has elapsed following entry of

judgment and the giving of any notice required under 28 U.S.C. § 1608(e), and for such other and

further relief as the Court may deem just and proper.

          3.           On June 20, 2018, the Court entered a Default Judgment against one of two

defendants, Mission of the Gabonese Republic (the "Gabonese Republic"). A true copy of the

Default Judgment is attached as Exhibit A.




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           4.           On February 4, 2019, and pursuant to FRCP 4(f)(2)(C)(ii), the Clerk of the Court

duly served copies of the Default Judgment, in both English and French, upon the Gabonese

Republic. A true copy of the Clerk' s Certificate of Mailing is attached as Exhibit B.

           5.           On February 7, 2019, the Gabonese Republic received the Default Judgment. A

signature was required upon receipt and obtained by DHL. A true copy of the DHL Proof of

Delivery is attached as Exhibit C. See de Sousa v. Embassy of Rep. ofAngola, 229 F.Supp.3d 23 ,

29 (D.D.C. 2017)(FedEx delivery receipt with signature satisfies 28 U.S.C. § 1608(a)(3».

           6.           Thus, Plaintiffs have provided notice of the Default Judgment to the Gabonese

Republic. The Gabonese Republic has not responded to the Default Judgment.

           7.           A reasonable period of time has elapsed following entry of the Default Judgment

and the giving of notice thereof (not only to the date hereof, but to the subsequent date upon which

this Court considers this motion. See Peterson v. Islamic Republic of Iran , No. 10 civ. 4518, 2013

WL 1155576 (S.D.N.Y. Mar. 13, 2016)(one hundred days reasonable period of time); Gadsby &

Hannah v. Socialist Republic of Romania, 698 F.Supp. 483 , 486 (S.D.N.Y.1988)(two months

reasonable); Ferrostaal Metals Corp. v.               s.s.   Lash Pacifico, 652 F.Supp. 420, 423 (S.D.N.Y.

1987)(three months reasonable).

           8.           Accordingly, Plaintiffs are entitled to an Order detennining that Plaintiffs may

proceed to collection of the Default Judgment by attachment, execution, or by any other means

pennitted by applicable law, against the assets of the Gabonese Republic.

                                                                     tM<1~
                                                                       KEVIN,       Z
Sworn to before me this
~ th day of February, 2019

~y~
Notary Public
                      NICOLE VERDI
             Notary Public State of New York
                    NO . 01VE6269557
              Qualified in Richmond Couf1ty   .. ,.....,
         Commission Expires OC;;tp kiL, I , 20~              2
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